Case 2:18-cv-02522-JLS-JCG Document 1-5 Filed 03/28/18 Page 1 of 32 Page ID #:466




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 3
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                                                                              FEB 2 3 2018
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 9   Attorneys/or Plaint(/# Emil Youssefzadeh and
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10

11                            SUPERIOR COURT OF THE ST ATE OF CALIFORNIA
12                             COUNTY OF LOS ANGELES, CENTRAL DISTRICT
13                                                              BC695360
14 EMIL YOUSSEFZADEH, an individual, and            Case No.
     UMAR JAVED, an individual,
15                                                  COMPLAINT FOR:
                       Plaintiffs,
16                                                     l. RETALIATION IN VIOLATION OF
                 vs.                                      LABOR CODE SECTION 1102.S(b);
17
                                                       2. RETALIATION IN VIOLATION OF
l S GLOBAL-IP CAYMAN, a Cayman Islands
   company; GLOBAL-IP USA, INC., a                        LABOR CODE SECTION 1102.S(c);
   Delaware corporation; DONG YIN                      3. CONSTRUCTIVE WRONGFUL
19 DEVELOPMENT (HOLDINGS) LIMITED,
                                                          DISCHARGE IN VIOLATION OF
   a Hong Kong company; and DOES l through                PUBLIC POLICY;
20 50, inclusive,
                                                       4. BREACH OF CONTRACT;
21                     Defendants.                     5. BREACH OF THE IMPLIED
22                                                        COVENANT OF GOOD FAITH AND
                                                          FAIR DEALING; and
23                                                     6. INTENTIONAL INTERFERENCE
                                                          WITH CONTRACT.
24

25                                                  DEMAND FOR JURY TRIAL

26
27

28

                                               COMPLAINT
     239178.14
Case 2:18-cv-02522-JLS-JCG Document 1-5 Filed 03/28/18 Page 2 of 32 Page ID #:467




        [COMPLETE
       COPY OF THE
       COMPLAINT IS
          BEING
      CONCURRENTLY
           FILED
       UNDER SEAL]
        Case 2:18-cv-02522-JLS-JCG Document 1-5 Filed 03/28/18 Page 3 of 32 Page ID #:468


                                                                                                                                                              SUM-100
                                                     SUMMONS                                                                      FOR COURT USE ONLY
                                                                                                                              (SOLO PARA USO DE LA CORTE)
                                              (CITACION JUDICIAL)
        NOTICE TO DEFENDANT:  (o                        IO\-:?~~          .Tp (' A'f V\"I O\V\ I                                  FILED
                                                                                                                     Superior Court of Callfomla
        (AV/SOALDEMANDADOJ: t\ tP1.'{'(\'let'r1 \ SltlW\cl (                              c.ornpl\vtf                  County of .Los Angeles
         Additional Parties Attaclunent form is attached.
                                                                                                                               FEB 23 2018
                                                                                                                ~~
        YOU ARE BEING SUED BY PLAINTIFF:
        (LO ESTA DEMANDANDO EL DEMANDANTE):
                                                                                                                                        Gomez
         EMIL YOUSSEFZADEH, an individual, and UMAR JAVED, an
         individual.
          NOTICE! You have been sued. The court may decide against you without your being heard unless you respond within 30 days. Read the information
          below.
             You have 30 CALENDAR DAYS after this summons and legal papers are served on you to file a written response at this court and have a copy
          served on the plaintiff. A letter or phone call will not protect you. Your written response must be in proper legal form if you want the court to hear your
          case. There may be a court form that you can use for your response. You can find these court forms and more information at the California Courts
          Online Self-Help Center (www.courtinfo.ca.gov/selfhelp), your county law library, or the courthouse nearest you. If you cannot pay the filing fee, ask
          the court clerk for a fee waiver form. If you do not file your response on time, you may lose the case by default, and your wages, money, and property
          may be taken without further waming from the court.
             There are other legal requirements. You may want to call an attorney right away. If you do not know an attorney, you may want to call an attorney
          referral service. If you cannot afford an attorney, you may be eligible for free legal services from a nonprofit legal services program. You can locale
          these nonprofit groups at the California Legal Services Web site (www.lawhelpcalifomia.org), the California Courts Online Self-Help Center
          (www.courtinfo.ca.gov/selfhelp), or by contacting your local court or county bar association. NOTE: The court has a statutory lien for waived fees and
          costs on any settlement or arbitration award of $10,000 or more in a civil case. The court's lien must be paid before the court will dismiss the case.
          1A VISOI Lohan demandado. Si no responde dentro de 30 dlas. le carte puede decidir en su contra sin escucher su versi6n. Lea la informaci6n a
          cantinuaci6n.
             Tiena 30 DIAS DE CALENDAR/0 despues de que le entreguen es/a citaci6n y papa/es legales para presentar una respuesta por escrito en es/a
          carte y hacer qua se entregue una capia al demandante. Una carte o una 1/amada telef6nica no lo protegen. Su respuesta por escrito tiene que ester
          en formato legal co"ecto si desea qua procesen su caso en la carte. Es posible qua haya un formulario que usted pueda user para su respuesta.
          Puede encontrar eslos formularios de la carte y mas informacl6n en el Centro de Ayuda de las Cortes de California (\vww.sucorte.ca.govJ, en fa
          biblioteca de /eyes de su condado o en la corte que le quede mes cerca. Si no puede pager la cuota de presentaci6n, pide el secretario de la carte
          que le de un formulario de exenci6n de pego de cuotas. Si no presents su respueste a tiempo, puede perder el caso por incumplimiento y la carte le
          podra quitar su sue/do, dinero y bienes sin mas advertencia.
            Hay otros requisitos /egales. Es recomendable que /lame a un abogedo inmediatamente. Si no conoce a un abogado, puede /lamer a un servicio de
          remisi6n a abogados. Si no puede pager a un abogado, es posible que cumpla con /os requisitos para obtener servicios legales gratuitos de un
          programa de servicios legales sin fines de lucro. Puede encontrar estos grupos sin fines de lucro en el sitio web de California Legal Services,
          {www.lawhelpcalifornia.org), en el Centro de Ayuda de las Cortes de California, (\vww.sucorte.ca.govJ o poniendose en contacto con la carte o el
          colegio de abogados locales. AV/SO: Por fey, la corte tiene derecho a reclamar las cuotas y los castos exentos par imponer un gravamen sabre
          cualquier recuperaci6n de $10,000 6 mas de valor recibida mediante un acuerdo o una concesi6n de arbitraje en un caso de derecho civil. Tiena que
          pagar el gravamen de la carte antes de que la carte pueda desechar el caso.
         The name and address of the court is:
         (El nombre y direcci6n de la corte es):        LASC - Stanley Mosk Courthouse
                                                                                                                  CASE NUMBER:
                                                                                                                  (Numero de/ Caso/:   BC6 9 5 3.6 Q
         11 I North Hill Street
         Los Angeles, CA 90012
         The name, address, and telephone number of plaintiffs attorney, or plaintiff without an attorney, is:
         (El nombre, la direcci6n y el numero de telefono def abogado def demandante, o def demandante que no tiene abogado, es):
         Jerome H. Friedberg, Esq., 555 S. Flower St., Ste. 4250, Los Angeles, CA 90071, Telephone 213-929-5550

         DATE:     .feb,.n.~r)i.U02018                        SHERRI R.CARIER          Clerk, by                                                               , Deputy
          (Fe   iH   ~ u            ·,u10                                     (Secretario)                                                                      (Adjunto)


)        (For proof of service of this summons. use Proof of Service of Summons (form POS-010).)
         (Para prueba de entrega de esta citati6n use el formulario Proof of Service of Summons, (POS-010)).
                                                NOTICE TO THE PERSON SERVED: You are served
                                                1.   CJas an individual defendant.
                                                2.   CJas the person sued under the fictitious name of (specify):


                                                3.   CJ   on behalf of (specify):

                                                     under:   CJ   CCP 416.10 (corporation)                        CJ        CCP 416.60 (minor)
                                                              CJ   CCP 416.20 (defunct corporation)                CJ        CCP 416.70 (conservatee)
                                                              CJ   CCP 416.40 (association or partnership)         CJ        CCP 416.90 (authorized person)
                                                              CJ  other (specify):
                                                4.   CJ   by personal delivery on (date):
                                                                                                                                                                  Pa    1 of 1
          Form Adopted f0< Mandalory Use
            Juclicial Council of California
                                                                                SUMMONS                                                  Code of Civil Procedure§§ 412.20, 465
                                                                                                                                                         www.courtinfo.ce.gov
           SUM-100 [Rev. July 1, 2009)

    /
            Case 2:18-cv-02522-JLS-JCG Document 1-5 Filed 03/28/18 Page 4 of 32 Page ID #:469
    . 4\,


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                                                                                                                                             SUM-200(A)
                                                                                                                CASE NUMBER:
                  SHORT TITLE:
            _ YOUSSEFZADEH, et al. vs. GLOBAL-JP CAYMAN, et al.

                                                                           INSTRUCTIONS FOR USE
                 -t   This form may be used as an attachment to any summons if space does not permit the listing of all parties on the summqns.
                 -t   If this attachment is used, insert the following statement in the plaintiff or defendant box on the summons: "Additional Parties
                      Attachment form is attached."

                  List additional parties (Check only one box. Use a separate page for each type of patty.):

                      D    Plaintiff         [Z]   Defendant   D   Cross-Complainant       D     Cross-Defendant

                  GLOBAL-IP CAYMAN, a Cayman Islands company; GLOBAL IP-USA, INC, a Delaware corporation;
                  DONG YIN (HOLDINGS~., c\.Hong Kong company; and DOES l through 50, inclusive.
                                                      t~~                                                                             ..




            ,.....,



                                                                                                                                   Page           of
                                                                                                                                                       Page 1 of1
               Form Adopted for Mandatory Use
                 Judicial Council of Calrfomia                 ADDITIONAL PARTIES ATIACHMENT
              SUM-200(A) [Rev. January 1, 2007]                      Attachment to Summons
Case 2:18-cv-02522-JLS-JCG Document 1-5 Filed 03/28/18 Page 5 of 32 Page ID #:470


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                                                                  0




     kronw I I. Fncdhcrf!, Lsq. (SBN 125663)
     ISAACS FRIEDBERG LLP
     555 S. Flower Str<.:ct Smtc 4250
     l ,,\Angeles.CA 9007 l
               TnF?t<)'lf NG      213-929-555()                                 fA>-1-10    213-955-5794
                     Plaintiffs EMIL YOUSSEFZADEH and UMAR JAVED
    AfTOR'-'E,FOP1N•me1                                                                                                                                           FEB 2 3 2018
SUPERIOR COURT OF CALIFORNIA. COUNTY OF LOS ANGELES
    s,«w Mx.,mss 111 North Hill Street
                                                                                                                                                 Sherri A (.;ane1 Ci\1;1,uii~" v11i errClerk
                                                                                                                                                              '           1

    '·'"'ll'-'GAw%ss 111 North Hill Street
   CffYANo z,,, cork Los Angeles, CA 90012
                                                                                                                                                     By: Marlon Gomaz, De ty
                   aRt.t,::,-.,,h~" Central
    CASE NAME
                                                              , e_t_a_l._ _-+-,-------- - - - - - l
    EMIL YOUSSEFZADEH, et al. v. GLOBAL-lf___C_A_Y_'t\_1._A_N____
                                                                                                                                  C?SE N,WBER
          CIVIL CASE COVER SHEET                                                     Complex Case Designation
rT1
l.!-1
              Unlimited   Limited         D           Counter                 D
                                                                           Joinder                         D
              {Amount     (Amount                                                        JuDGE
              demanded    demanded is          Filed with first appearance by defendant
                          $25,000 or less)
              exceeds $25,000)                      {Cal. Rules of Court. rule 3.402)      0EPT

                              Items 1-6 below must be completed (see instructions on page 2)
1 Check one box below for the case type that best describes this case:
       Auto Tort                                                           Contract                                         Provisionally Compleic Civil Litigation
                    Au!o (22)                                              DD        Breach of contract/Warranty (06)       (Cal. Rules of Court. rules 3.400-3.403)
                    Uninsured motorist (46)                                          Rule 3.740 collections (09)            D     Antitrust/Trade regulation (03)
      Other Pl/PO/WO (Personal Injury/Property                             D Other collections (09)                         D     Construction defect (10)
      Damage/Wrongful Death) Tort                                          D Insurance coverage (18)                        D     Mass tort (40)
       D            Asbestos (04)                                          D Other contract (37)                            D     Securities litigation (28)
       D            Product liability (24}                                 Real Property                                    D     Environmental/Toxic tort (30)
       D            Medical malpractice (45)                               D Eminent domain/Inverse                         D     Insurance coverage claims arising from the
       D            Other Pl/PD/WO (23)                                           condemnation (14)                               above listed provisionally complex case
       Non.Pl/PO/WO (Other) Tort                                           D Wrongful eviction (33)                               types (41)

       D             Business tort/unfair business practice (07)           D Other real property (26)                       Enforcement of Judgment
       D            Civil nghts (08)                                       Unlawful Detainer                                D     Enforcement of judgment (20)
       D             Defamation (13)                                       D Commercial (31)                                Mlscellaneous Civil Complaint
       D             Fraud(16)                                             D Residential (32)                               D     RIC0(27)
                     Intellectual property ( 19)                           D Drugs(38)                                      D     Other complaint (not specified above) (42)
                     Professional negligence (25)                          Judicial Review                                  Miscellaneous Civil Petition
       D    Other non-Pt/PD/WO tort (35)                                   D Asset forfeiture (05)                          D     Partnership and corporate governance (21)
       Employment                                                          D Petition re: arbitration award (11)            D     Other petition (not specified above) (43)
       [l]          Wrongful termination (36)                              D Writ of mandate (02)
       D            Other employment {15)                                            Other udicial review (39}
2       This case         is         is not     complex under rule 3.400 of the California Rules of Court. If the case 1s complex, marl<. the
        factors requiring exceptional judicial management:
        a.    D         Large number of separately represented parties                             d.   D      Large number of witnesses
        bO              Extensive motion practice raising difficult or novel                       e.   D      Coordination with related actions pending in one or more courts
                        issues that will be time-consuming to resolve                                          in other counties, states, or countries, or 1n a federal court
        c.    D         Substantial amount of documentary evidence                                 f.   D      Substantial post1udgment judicial supervision

3       Remedies sought (check all that apply}: a                       [Z] monetary              b.   D    non monetary; declaratory or injunctive relief               c    [Z] punitive
4       Number of causes of action (specify).' 21
5       This case         is D [Z] is not a class actiOn suit
6       If there are any known related cases. Ille and serve a notice of related case
 Date Februarv 23. 2018
Jerome H. Friedberg. Esq.
                                                                                                  NOTICE
    • Plaintiff must file this cover sheet with the first paper filed in the action or proceeding {except small claims cases or cases filed
      under the Probate Code, Family Code. or Welfare and Institutions Code) (Cal Rules of Court, rule 3.220.) Failure to file may result
      m sanctions
    • File this cover sheet in addition to any cover sheet required by local court rule.
    • If this case 1s complex under rule 3.400 et seq of ihe California Rules of Court. you must serve a copy of this cover sheet on all
      other parttes to the action or proceeding
    • Unless this ls a collections case under rule 3.740 or a complex case, this cover sheet will be used for statistical purposes onlv.
                                                       "'        --                                                          ·-                                                         11.   1012
F Ofl'll .4<k1pte-:j tor MwdatO!') U~f:                                                                                                C•' Ro••• cf C-OUrt role• 2 :lO J220 J 400-3 #J3. 3 740
          \.ouncr o! Ca!ifOJf'i>&
    ·-'U<h(.J.al
                                                                            CIVIL CASE COVER SHEET                                            Cal Stand.trdb cf .h.od-cu,1 A.drnn,tra:hon. s.ld 3-10
    CM-010 {Re" JtJ!y 1 2tXJ7]                                                                                                                                                www court,110 Cd \fO\'
   Case 2:18-cv-02522-JLS-JCG Document 1-5 Filed 03/28/18 Page 6 of 32 Page ID #:471

                                                                                                                                        CM-010
                                      INSTRUCTIONS ON HOW TO COMPLETE THE COVER SHEET
To Plaintiffs and Others Filing First Papers. If you are filing a first paper (for example, a complaint) in a civil case, you must
complete and file, along with your first paper, the Civil Case Cover Sheet contained on page 1. This information will be used to compile
statistics about the types and numbers of cases filed. You must complete items 1 through 6 on the sheet. In item 1, you must check
one box for the case type that best describes the case. If the case fits both a general and a more specific type of case listed in item 1.
check the more specific one. If the case has multiple causes of action, check the box that best indicates the primary cause of action.
To assist you in completing the sheet, examples of the cases that belong under each case type in item 1 are provided below. A cover
sheet must be filed only with your initial paper. Failure to file a cover sheet with the first paper filed in a civil case may subject a party,
its counsel. or both to sanctions under rules 2.30 and 3.220 of the California Rules of Court.
To Parties in Rule 3.740 Collections Cases. A "collections case" under rule 3.740 is defined as an action for recovery of money
owed in a sum stated to be certain that is not more than $25,000, exclusive of interest and attorney's fees, arising from a transaction in
which property, services, or money was acquired on credit. A collections case does not include an action seeking the following: ( 1) tort
damages. (2) punitive damages, (3} recovery of real property, (4) recovery of personal property, or (5) a prejudgment writ of
attachment. The identification of a case as a rule 3.740 collections case on this form means that it will be exempt from the general
time-for-service requirements and case management rules, unless a defendant files a responsive pleading. A rule 3.740 collections
case will be subject to the requirements for service and obtaining a judgment in rule 3. 740.
To Parties in Complex Cases. In complex cases only, parties must also use the Civil Case Cover Sheet to designate whether the
case is complex. If a plaintiff believes the case is complex under rule 3.400 of the California Rules of Court. this must be indicated by
completing the appropriate boxes in items 1 and 2. If a plaintiff designates a case as complex, the cover sheet must be served with the
complaint on all parties to the action. A defendant may file and serve no later than the time of its first appearance a joinder in the
plaintiffs designation, a counter-designation that the case is not complex, or, if the plaintiff has made no designation. a designation that
the case is complex.                                     CASE TYPES AND EXAMPLES
Auto Tort                                        Contract                                            Provisionally Complex Civil Litigation (Cal.
     Auto (22)-Personal Injury/Property             Breach of Contract/Warranty (06)                 Rules of Court Rules 3.40()-3.403)
          Damage/Wrongful Death                          Breach of Rental/Lease                           AntitrusVTrade Regulation (03)
     Uninsured Motorist (46) (if the                          Contract (not unlawful detainer             Construction Defect (10)
          case involves an uninsured                              or wrongful eviction)                   Claims Involving Mass Tort (40)
          motorist claim subject to                      Contract/Warranty Breach-Seller                  Securities Litigation (28)
          arbitration, c/Jeck t/Jis item                       Plaintiff (not fraud or negligence)        Environmentalffoxic Tort (30)
          instead of Auto)                               Negligent Breach of ContracV                     Insurance Coverage Claims
Other Pl/PO/WO (Personal Injury/                              Warranty                                         (arising from proviSJona/ly complex
Property Damage/Wrongful Death)                          Other Breach of Contract/Warranty                     case type listed above) (41)
Tort                                                Collections (e.g .. money owed, open               Enforcement of Judgment
     Asbestos (04)                                       book accounts) (09)                              Enforcement of Judgment (20)
          Asbestos Property Damage                       Collection Case-Seller Plaintiff                      Abstract of Judgment (Out of
                                                         Other Promissory Note/Collections                           County)
          Asbestos Personal Injury/
                Wrongful Death                                 Case                                            Confession of Judgment (non-
                                                     Insurance Coverage (not provisionally                           domestic relations)
     Product Liability (not asbestos or
          toxic/environmental) (24)                      complex) (18)                                         Sister State Judgment
     Medical Malpractice (45)                            Auto Subrogation                                      Administrative Agency Award
          Medical Malpractice-                           Other Coverage                                            (not unpaid taxes)
                Physicians & Surgeons                Other Contract (37)                                       Petition/Certification of Entry of
          Other Professional Health Care                 Contractual Fraud                                         Judgment on Unpaid Taxes
                Malpractice                              Other Contract Dispute                                Other Enforcement of Judgment
                                                 Real Property                                                       Case
     Other PI/PD/WD (23)
          Premises Liability (e.g., slip             Eminent Domain/Inverse                            Miscellaneous Civil Complaint
                and fall)                                 Condemnation (14)                               RICO (27)
          Intentional Bodily Injury/PD/WO           Wrongful Eviction (33)                                Other Complaint (not specified
                                                                                                               above) (42)
                (e.g .• assault, vandalism)          Other Real Property (e.g., quiet title) (26)
          Intentional Infliction of                                                                            Declaratory Relief Only
                                                         Writ of Possession of Real Property
                                                                                                               Injunctive Relief Only (non-
                Emotional Distress                       Mortgage Foreclosure                                        harassment)
          Negligent Infliction of                        Quiet Title
                Emotional Distress                                                                             Mechanics Lien
                                                         Other Real Property (not eminent
          Other Pl/PD/WO                                                                                       Other Commercial Complaint
                                                         domain, Iandlordt?enant, or
                                                                                                                     Case (non-tort/non-complex)
Non-Pl/PD/WO (Other) Tort                                 foreclosure)
                                                                                                               Other Civil Complaint
     Business Tort/Unfair Business               Unlawful Detainer
                                                                                                                    (non-tort/non-complex)
         Practice (07)                               Commercial (31)
                                                                                                       Miscellaneous Civil Petition
     Civil Rights (e.g., discrimination,             Residential (32)                                     Partnership and Corporate
         false arrest) (not civil                    Drugs (38) (if the case involves illegal                  Governance (21)
          harassment) (08)                               drugs, check this item; otherwise.               Other Petition (not specified
     Defamation (e.g., slander. libel)                    report as Commercial or Residential)                 above) (43)
           (13)                                  Judicial Review                                               Civil Harassment
     Fraud (16)                                      Asset Forfeiture (05)                                     Workplace Violence
     Intellectual Property (19)                      Petition Re: Arbitration Award ( 11)                      Elder/Dependent Adult
     Professional Negligence (25)                    Writ of Mandate (02)                                            Abuse
         Legal Malpractice                               Writ-Administrative Mandamus                          Election Contest
         Other Professional Malpractice                  Writ-Mandamus on Limited Court
                                                                                                               Petition for Name Change
              (not medical or legal)                          Case Matter                                      Petition for Relief From Late
      Other Non-Pl/PD/WO Tort (35)                       Writ-Other Limited Court Case                               Claim
Employment                                                    Review                                           Other Civil Petition
     Wrongful Termination (36)                       Other Judicial Review (39)
     Other Employment (15)                                Review of Health Officer Order
                                                          Notice of Appeal-Labor
                                                              Commissioner Appeals
CM-010 !Rev July 1. 20071                                                                                                                 Page2 of 2
                                                     CIVIL CASE COVER SHEET
  Case 2:18-cv-02522-JLS-JCG Document 1-5 Filed 03/28/18 Page 7 of 32 Page ID #:472



                r
 <:,,10~1 rnt
                    EMIL YOUSSEFZADEH, et al. v. GLOBAL-IP CAYMAN, el al.
                                                                                                       CASE MJMBtR
                                                                                                                         BC69536 0
                                    CIVIL CASE COVER SHEET ADDENDUM AND
                                            STATEMENT OF LOCATION
                     (CERTIFICATE OF GROUNDS FOR ASSIGNMENT TO COURTHOUSE LOCATION)

                    This form is required pursuant to Local Rule 2.3 in all new civil case filings In the Los Angeles Superior Court.



        Step 1:        After completing the Civil Case Cover Sheet (Judicial Council form CM-010), find the exact case type in
                       Column A that corresponds to the case type indicated in the Civil Case Cover Sheet.


        Step 2:        In Column B, check the box for the type of action that best describes the nature of the case.


        Step 3:        In Column C, circle the number which explains the reason for the court filing location you have
                       chosen.

                              ~r-·_·-_-___A_p_p_li_ca_b_l~ Reasons for Choosing Court Filing Location (Column C)                   ==1
1 Class ac!IMs must be filed in the Stanley Mosk Courthouse, Central District           7 Location where pet1t1oner resides.

2 Perrniss1ve ftlmg in central district                                                 8. Location wherein defendant/respondent functions wholly
3 l..ocat,on where cause of action arose                                                9 Location where one or more of the parties reside

4 Mandatory personal injury fihng ,n North District                                    10 Location of Labor Commissioner Office.
                                                                                       11, Mandatory filing location (Hub Cases - unlawful detainer, limited
5 Location where performance required or defendant resides
                                                                                       non-collection, limited collection, or personal injury}.
6 Localion of property or permanently garaged vehicle.



                    r-~···~··--
                                     A                                                        B                                                         C
                         Ch,ti Case Cover Sheet                                         Type of Actton                                       Applicable   Reasons -
                               Category No                                             (Check only one)                                        See Step 3 Above

                                  Auto (22)         D A7100 Motor Vehicle - Personal Injury/Property DamageNVrongful Death                   1 4 11
   .9    t::                                  ...                  -              ..                                                ~---
    :::, 0
   <(   I-              Uninsured Motorist (46)     0   A7110 Personal Injury/Property Damage/Wrongful Death - Uninsured Motorist            1. 4. 11


                                                    D A6070 Asbestos Property Damage                                                         1. 11
                             Asbestos (04)
                                                    0   A7221 Asbestos - Personal IOJury/Wrongful Death                                      1. 11

                          Product Liability (24)    0   A7260 Product liability {not asbestos or toxic/erwironmental)                        1. 4. 11

                                                    0   A7210 Medical Malpractice - Physicians & Surgeons                                    1. 4, 11
                        Medical Malpractice (45)
                                                    D   A7240 Other Professional Health Care Malpractice                                     1 4. 11


                                                    D A7250 Premises Liability (e g slip and fall)                                           I. 4. 11
                            Other Personal
                            lnJury Propert)'        D A7230 lntenhonat Bodily Injury/Property DamageNvrongful Death (e g .                   1. 4, 11
                           Damage Wrongful                      assault. vandalism. etc.)
                              Death (23i                                                                                                     1, 4. 11
                                                    0   A7270 Intentional Infliction of Emotional Distress
                                                                                                                                             1 4. 11
                                                    0   A7220 Other Personal lnJurylProperty Damage/Wrongful Death




   LACIV 109 (Rev 2116)                             CNILCASECOVERSHEETADDENDUM                                                             Local Rule 2.3
   l.ASC Approved 03-04                                AND STATEMENT OF LOCATION                                                             Page 1 of 4
      Case 2:18-cv-02522-JLS-JCG Document 1-5 Filed 03/28/18 Page 8 of 32 Page ID #:473


SHORT TiTLE                                                                                            CASE NUMBER
                       EMIL YOUSSEFZADEH, et al. v. GLOBAL-IP CAYMAN, et al.

                                     A                                                        B                                               C Applicable
                          Civil Case Cover Sheet                                         Type of Action                                    Reasons - See Step 3
                                Category No.                                            (Check only one)                                         Above

                             Business Tort (07)         D A6029 Other Commercial/Business Tort (not fraud/breach of contract)              1.2.3
    > t::
   t:: 0                      Civil Rights (08)         D A6005 Civil Rights/Discrimination                                                1, 2, 3
    Cl> I-
    Q. .s:;
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   Q.
               ia
                QI
  - o                         Defamation (13)           D A6010 Defamation (slander/libel)                                                 1. 2, 3
  t:'-
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               - ::,
                                 Fraud (16)             D A6013 Fraud (no contract)                                                        1, 2, 3

    gs:
   II>-                                                 D A6017 Legal Malpractice                                                          1. 2, 3
   .. Cl>
   Cl> 0)               Professional Negligence (25)
   Q.            ...                                    D A6050 Other Professional Malpractice (not medical or legal)                      1,2, 3
    r::.         E
    0            ...
   zo
                                 Other(35)              D A6025 Other Non-Personal Injury/Property Damage tort                             1, 2, 3


        -  C
           Cl>
           E
                         Wrongful Termination (36)      CJ A6037 Wrongful Termination                                                      1,©3


        }'                                              D A6024 Other Employment Complaint Case                                            1, 2, 3
           a.             Other Employment (15)
           E                                            D   A6109 Labor Commissioner Appeals                                               10
        w
                                                        D A6004 Breach of Rental/Lease Contract (not unlawful detainer or wrongful         2.5
                                                                   eviction)
                        Breach of ContracU Warranty                                                                                        2.5
                                    (06)                D A6008 ContracUWarranty Breach -Seller Plaintiff {no fraud/negligence)
                              (not insurance)                                                                                              1, 2, 5
                                                        D A6019 Negligent Breach of ContracUWarranty (no fraud)
                                                                                                                                           1. 2. 5
                                                        D A6028 Other Breach of ContracUWarranty (not fraud or negligence)

        -  u
           ~                  Collections (09)
                                                        D A6002 Collections Case-Seller Plaintiff                                          5, 6, 11
        i.:                                             D A6012 Other Promissory Note/Collections Case                                     5, 11
           0
        (.,)
                                                        D A6034 Collections Case-Purchased Debt (Charged Off Consumer Debt                 5, 6, 11
                                                                   Purchased on or alter Januarv 1 20141

                          Insurance Coverage (18)       D A6015 Insurance Coverage (not complex)                                           1. 2. 5, 8


                                                        D A6009 Contractual Fraud                                                          1,2, 3, 5
                            Other Contract (37)         D A6031 Tortious Interference                                                      1,2,3,5

                                                        D A6027 Other Contract Dispute(not breach/insurance/fraud/negligence)              1,2, 3.8, 9

                          Eminent Domain/Inverse                                                           Number of parcels_ _ _
                                                        0   A7300 Eminent Domain/Condemnation                                              2,6
                            Condemnation (14)

                           Wrongful Eviction (33)       0   A6023 Wrongful Eviction Case                                                   2.6

                                                        D A6018 Mortgage Foreclosure                                                       2,6
                          Other Real Property (26)      D A6032 Quiet Title                                                                2,6
                                                        D A6060 Other Real Property (not eminent domain. landlord/tenant. foreclosure)     2,6

                        Unlawful Detainer-Commercial
                                                        D A6021 Unlawful Detainer-Commercial (not drugs or wrongful eviction)              6, 11
                                    (31)

                        Unlawful Detainer-Residential
                                    (32}
                                                        D A6020 Unlawful Detainer-Residential (not drugs or wrongful eviction)             6, 11

                            Unlawful Detainer-
                                                        D A6020F Unlawful Detainer-Post-Foreclosure                                        2,6, 11
                           Post-Foreclosure (34l

                        Unlawful Detainer-Drugs (38)    0   A6022 Unlawful Detainer-Drugs                                                  2,6. 11



 LACIV 109 (Rev 2/16)                                   CIVIL CASE COVER SHEET ADDENDUM                                                  Local Rule 2.3
 LASC Approved 03-04                                       AND STATEMENT OF LOCATION                                                       Page 2 of 4
   Case 2:18-cv-02522-JLS-JCG Document 1-5 Filed 03/28/18 Page 9 of 32 Page ID #:474


SHORlTITLE                                                                                    CASE NUMBER
             EMIL YOUSSEFZADEH, et al. v. GLOBAL-IP CAYMAN, et al.

                            A                                                         B                                C Applicable
                 Civil Case Cover Sheet                                         Type of Action                      Reasons • See Step 3
                       Category No.                                            (Check only one)                           Above

                  Asset Forfeiture (05)        0   A6108 Asset Forfeiture Case                                      2.3.6

               Petition re Arbitration ( 11)   0   A6115 Petition to Compel/ConfirrnNacate Arbitration              2,5


                                               D A6151 Writ - Administrative Mandamus                               2,8
                  Writ of Mandate (02)         D A6152 Writ - Mandamus on Limited Court Case Matter                 2
                                               D A6153 Writ - Other Limited Court Case Review                       2


               Other Judicial Review (39)      D A6150 Other Writ /Judicial Review                                  2,8


             Antitrust/Trade Regulation (03)   D A6003 Antitrust/Trade Regulation                                   1, 2. 8
     C
     0
    ~           Construction Defect (10)       D A6007 Construction Defect                                          1, 2, 3
    .!:!>
    ;t:
    _J
               Claims Involving Mass Tort
     ~                    (40)
                                               D A6006 Claims Involving Mass Tort                                   1, 2, 8
    C.
     E
     0
    (.)         Securities Litigation (28)     D A6035 Securities Litigation Case                                   1. 2, 8
    2::-
    ta
     C                 Toxic Tort
     0                                         D   A6036 Toxic Tort/Environmental                                   1,2,3,8
                   Environmental (30)
    'in
    ·~         Insurance Coverage Claims
    0.                                         D A6014 Insurance Coverage/Subrogation (complex case only)           1,2.5, 8
                 from Complex Case (41)

                                               D A6141 Sister State Judgment                                        2,5, 11

                                               D A6160 Abstract of Judgment                                         2,6
  C:
  QI
     C
     QI
   E E                 Enforcement             D A6107 Confession of Judgment (non-domestic relations)              2,9
   ~~               of Judgment (20)           D   A6140 Administrative Agency Award (not unpaid taxes)             2,8
   0 ::s
  i:...,
  WO                                           D A6114 Petition/Certificate for Entry of Judgment on Unpaid Tax     2.8
                                               D   A6112 Other Enforcement of Judgment Case                         2.8,9

                        RIC0(27)               D A6033 Racketeering (RICO) Case                                     1, 2, 8


                                               D A6030 Declaratory Relief Only                                      1. 2, 8

                   Other Complaints            D A6040 Injunctive Relief Only (not domestic/harassment)             2,8
               (Not Specified Above) (42)      D A6011 Other Commercial Complaint Case (non-tort/non-complex)       1, 2, 8

                                               D A6000 Other Civil Complaint (non-tort/non-complex)                 1, 2, 8

                 Partnership Corporation
                    Governance (21)
                                               D A6113 Partnership and Corporate Governance Case                    2.8


                                               D A6121 Civil Harassment                                             2,3,9
                                               D A6123 Workplace Harassment                                         2,3,9
                                               D A6124 Elder/Dependent Adult Abuse Case                             2,3,9
                   Other Petitions (Not
                  Specified Above) (43)        D A6190 Election Contest                                             2
                                               D A6110 Petition for Change of Name/Change of Gender                 2, 7
                                               D A6170 Petition for Relief from Late Claim Law                      2.3,8
                                               D A6100 Other Civil Petition                                         2,9




 LACIV 109 (Rev 2/16)                          CIVIL CASE COVER SHEET ADDENDUM                                    Local Rule 2.3
 LASC Approved 03-04                              AND STATEMENT OF LOCATION                                         Page 3 of 4
      Case 2:18-cv-02522-JLS-JCG Document 1-5 Filed 03/28/18 Page 10 of 32 Page ID #:475


 SHORT TITLE                                                                                  CASE NUMBER
                  EMIL YOUSSEFZADEH, et al. v. GLOBAL-IP CAYMAN, et al.



Step 4: Statement of Reason and Address: Check the appropriate boxes for the numbers shown under Column C for the
                type of action that you have selected. Enter the address which is the basis for the filing location, including zip code.
                (No address required for class action cases).
  -···-
                                                                         ADDRESS
    REASON:                                                              Not applicable.
           1.,.. 2.   3.   4.   5.   6.   7.   8.    9.   10.    11.



    CITY                                        STATE.     ZIP CODE




Step 5: Certification of Assignment: I certify that this case is properly filed in the Central                               District of
                the Superior Court of California, County of Los Angeles [Code Civ. Proc., §392 et seq., and local Rule 2.3(a)(1)(E}].




  Dated: February 23, 2018
                                                                                           (SIGNATURE OF ATTORNEY/FILING PARTY)




  PLEASE HAVE THE FOLLOWING ITEMS COMPLETED AND READY TO BE FILED IN ORDER TO PROPERLY
  COMMENCE YOUR NEW COURT CASE:

           1.    Original Complaint or Petition.

           2.    If filing a Complaint, a completed Summons form for issuance by the Clerk.

           3.   Civil Case Cover Sheet, Judicial Council form CM-010.

           4.   Civil Case Cover Sheet Addendum and Statement of Location form. LACIV 109, LASC Approved 03-04 (Rev.
                02/16).

           5.    Payment in full of the filing fee, unless there is court order for waiver, partial or scheduled payments.

           6.   A signed order appointing the Guardian ad Litem, Judicial Council form CIV-010, if the plaintiff or petitioner is a
                minor under 18 years of age will be required by Court in order to issue a summons.

           7.    Additional copies of documents to be conformed by the Clerk. Copies of the cover sheet and this addendum
                 must be served along with the summons and complaint, or other initiating pleading in the case.




  LACIV 109 (Rev 2/16)                         CIVIL CASE COVER SHEET ADDENDUM                                                Local Rule 2.3
  LASC Approved 03-04                             AND STATEMENT OF LOCATION                                                       Page 4 of 4
     Case 2:18-cv-02522-JLS-JCG Document 1-5 Filed 03/28/18 Page 11 of 32 Page ID #:476

                        SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
                         NOTICE OF CASE ASSIGNMENT - UNLIMITED CIVIL CASE - IC
                                         Case N u m b e r - - - - - - - - - - - - - -

                             THIS FORM IS TO BE SERVED WITH THE SUMMONS AND COMPLAINT

    Your case is assigned for all purposes to the judicial officer indicated below.

               ASSIGNED JUDGE               DEPT     ROOM t~:t
                                                           Ji"{
                                                                               ASSIGNED JUDGE           DEPT   ROOM
          Hon. Dehrc K. Weintraub

          Hon. Barbara A. Meiers
                                              I

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                                                       534

                                                       636
                                                                iI       Hon. Eliz.abeth Allen White

                                                                         Hon. Deirdre Hill
                                                                                                         48

                                                                                                         49
                                                                                                                506

                                                                                                                509

          Hon. Terry A. Green                 14       300               Hon. Teresa A. Beaudet          50     508

          Hon. Richard Fruin                  15       307               Hon. Michael J. Raphael         51     511

          Hon. Rita Miller                    16       306               Hon. Susan Bryant-Deason        52     510

          Hon. Richard E. Rico                17       309               Hon. Howard L. Halm             53     513

          Hon. Stephanie Bowick               19       311               Hon. Ernest M. Hiroshigc        54     512

          Hon. Dalila Corral Lyons            20       310               Hon. Malcolm H. Mackey          55     515

          Hon. Robert L. Hess                 24       314               Hon. Holly J. Fujic             56     514

          Hon. Yvette M. Pa(azuelos           28       318               Hon. John P. Doyle              58     516

          Hon. Barbara Scheper                30       400               Hon. Gregory Keosian            61     732

          Hon. Samantha Jessner               31       407               Hon. Michael L. Stern           62     600

          Hon. Daniel S. Murphy               32       406               Hon. Mark Mooney                68     617

          Hon. Michael P. Linfield            34       408               Hon. William F. Fahey           69     621

          Hon. Gregory Alarcon                36       410               Hon. Monica Bachner             71     729

          Hon. Marc Marmaro                   37       413               Hon. Ruth Ann Kwan              72     731

          Hon. Maureen Duffy-Lewis            38       412               Hon. Rafael Ongkeko             73     733

          Hon. Elizabeth Fcffer               39       415
                                                                     X   Hon. Michelle Williams Court    74     735

          Hon. David Sotelo                   40       414               Hon. Gail Rudennan Feuer        78     730

          Hon. Holly E. Kendig                42       416

          Hon. Mel Red Recana                 45       529

          Hon. Frederick C. Shaller           46       500

          Hon. Randolph Hammock               47       507

    Given to the Plaintiff/Cross-Complainant/Attorney of Record on - - - - - - - - - - - -
                                                                                (Date)


    SHERRI R. CARTER, Executive Officer/Clerk of Court

    By                                         , Deputy Clerk



LACIV 190 (Rev 12/17)          NOTICE OF CASE ASSIGNMENT - UNLIMITED CIVIL CASE
LASC Approved 05/06
     Case 2:18-cv-02522-JLS-JCG Document 1-5 Filed 03/28/18 Page 12 of 32 Page ID #:477
                                   INSTRUCTIONS FOR HANDLING UNLIMITED CIVIL CASES

The following critical provisions ofthe California Rules of Court, Title 3, Division 7, as applicable in the Superior Court, are summarized
for your assistance.

APPLICATION
The Division 7 Rules were effective January 1, 2007. They apply to all general civil cases.

PRIORITY OVER OTHER RULES
The Division 7 Rules shall have priority over all other Local Rules to the extent the others are inconsistent.

CHALLENGE TO ASSIGNED JUDGE
A challenge under Code of Civil Procedure Section 170.6 must be made within 15 days after notice of assignment for all purposes
to a judge, or if a party has not yet appeared, within 15 days of the first appearance.

TIME STANDARDS
Cases assigned to the Independent Calendaring Courts will be subject to processing under the following time standards:

COMPLAINTS
All complaints shall be served within 60 days of filing and proof of service shall be filed within 90 days.

CROSS-COMPLAINTS
Without leave of court first being obtained, no cross-complaint may be filed by any party after their answer is filed.          Cross-
complaints shall be served within 30 days of the filing date and a proof of service filed within 60 days of the filing date.

STATUS CONFERENCE
A status conference will be scheduled by the assigned Independent Calendar Judge no later than 270 days after the filing of the
complaint. Counsel must be fully prepared to discuss the following issues: alternative dispute resolution, bifurcation, settlement,
trial date, and expert witnesses.

FINAL STATUS CONFERENCE
The Court will require the parties to attend a final status conference not more than 10 days before the scheduled trial date. All
parties shall have motions in limine, bifurcation motions, statements of major evidentiary issues, dispositive motions, requested
form jury instructions, special jury instructions, and special jury verdicts timely filed and served prior to the conference. These
matters may be heard and resolved at this conference. At least five days before this conference, counsel must also have exchanged
lists of exhibits and witnesses, and have submitted to the court a brief statement of the case to be read to the jury panel as required
by Chapter Three of the Los Angeles Superior Court Rules.

SANCTIONS
The court will impose appropriate sanctions for the failure or refusal to comply with Chapter Three Rules, orders made by the
Court, and time standards or deadlines established by the Court or by the Chapter Three Rules. Such sanctions may be on a party,
or if appropriate, on counsel for a party.

This is not a complete delineation of the Division 7 or Chapter Three Rules, and adherence only to the above provisions is
therefore not a guarantee against the imposition of sanctions under Trial Court Delay Reduction. Careful reading and
compliance with the actual Chapter Rules is imperative.

Class Actions
Pursuant to Local Rule 2.3, all class actions shall be filed at the Stanley Mosk Courthouse and are randomly assigned to a complex
judge at the designated complex courthouse. If the case is found not to be a class action it will be returned to an Independent
Calendar Courtroom for all purposes.

*Provisionallv Complex Cases
Cases filed as provisionally complex are initially assigned to the Supervising Judge of complex litigation for determination of
complex status. If the case is deemed to be complex within the meaning of California Rules of Court 3.400 et seq., it will be
randomly assigned to a complex judge at the designated complex courthouse. If the case is found not to be complex, it will be
returned to an Independent Calendar Courtroom for all purposes.




LACIV 190 (Rev 12/17)        NOTICE OF CASE ASSIGNMENT - UNLIMITED CIVIL CASE
LASC Approved 05/06
Case 2:18-cv-02522-JLS-JCG Document 1-5 Filed 03/28/18 Page 13 of 32 Page ID #:478


                                                                        ·voLUNTARY EFFICIENT LITIGATION STIPULATIONS


                                                                           The Early Organizational Meeting Stipulation, Discovery
                                                                        Resolution Stipulation, and Motions in Limine Stipulation are
Superior Court of California                                            voluntary stipulations entered into by the parties. The parties
County of Los Angeles

                                                                        may enter into one, two, or all three of the stipulations;
                                                                        however, they may not alter the stipulations as written,
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      J.:.. ~ • ~ \'", '~- , _ ." , .-,
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                                                             ,1'   _.   because the Court wants to ensure uniformity of application.
Los Angeles County
Bar Association                                                         These stipulations are meant to encourage cooperation
Litigation Section

Los Angeles County
                                                                        between the parties and to assist in resolving issues in a
 Bar Association Labor and
Employment Law Section                                                  manner that promotes economic case resolution and judicial
                                                                        efficiency.

                                                                            The    following   organizations   endorse     the   goal   of
Consumer Attorneys
Association of Los Angeles                                              promoting efficiency in litigation and ask that COUnSel
                                                                        consider using these stipulations as a voluntary way to
                                                                        promote communications and procedures among counsel
                                                                        and with the court to fairly resolve issues in their cases.

                                                                         +Los Angeles County Bar Association Litigation Section+
Southern California
Defense Counsel

                                                                                      + Los Angeles County Bar Association
                                                                                      Labor and Employment Law Section+

Association of
Business Trial Lawyers
                                                                            +consumer Attorneys Association of Los Angeles+


                                                                                  +southern California Defense Counsel+


                                                                                  +Association of Business Trial Lawyers+

Callfornla Employment
Lawyers Association
                                                                             +California Employment Lawyers Association+


          LACIV 230 (NEW)
          LASC Approved 4-11
          r-. - ,..., .. .-.: ... _ -·. ,_ ...
   Case 2:18-cv-02522-JLS-JCG Document 1-5 Filed 03/28/18 Page 14 of 32 Page ID #:479

NAME AND ADDRESS OF ATTORNEY OR PARTY WITHOUT ATTORNEY                 STATE BAR NUMBER            Reserved for Clerk"$ Ale Stamp




          TELEPHONE NO.:                                 FAX NO. (Optional}:
 E-MAIL ADDRESS (Optional):
    A TIORNEY FOR (Name):
SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
COURTHOUSE ADDRESS:


PLAINTIFF:


DEFENDANT:

                                                                                          CASE NUMBER:
                     STIPULATION - DISCOVERY RESOLUTION

       This stipulation is intended to provide a fast and informal resolution of discovery issues
       through limited paperwork and an informal conference with the Court to aid in the
       resolution of the issues.

       The parties agree that:

       1. Prior to the discovery cut-off in this action, no discovery motion shall be filed or heard unless
          the moving party first makes a written request for an Informal Discovery Conference pursuant
          to the terms of this stipulation.

       2. At the Informal Discovery Conference the Court will consider the dispute presented by parties
             and determine whether it can be resolved informally. Nothing set forth herein will preclude a
             party from making a record at the conclusion of an Informal Discovery Conference, ~-either
             orally or in writing.

       3. Following a reasonable and good faith attempt at an informal resolution of each issue to be
          presented, a party may request an Informal Discovery Conference pursuant to the following
          procedures:

                  a. The party requesting the Informal Discovery Conference will:

                      i.      File a Request for Informal Discovery Conference with the clerk's office on the
                              approved form (copy attached) and deliver a courtesy, conformed copy to the
                              assigned department;

                      ii.     Include a brief summary of the dispute and specify the relief requested; and

                     iii.     Serve the opposing party pursuant to any authorized or agreed method of service
                              that ensures that the opposing party receives the Request for Informal Discovery
                              Conference no later than the next court day following the filing.

                  b. Any Answer to a Request for Informal Discovery Conference must:

                       i.     Also be filed on the approved form (copy attached);

                      ii.     Include a brief summary of why the requested relief should be denied;
       LACIV 036 (new)
       LASC Approved 04/11                     STIPULATION -DISCOVERY RESOLUTION
       For Optional Use                                                                                                  Page 1 of 3
Case 2:18-cv-02522-JLS-JCG Document 1-5 Filed 03/28/18 Page 15 of 32 Page ID #:480




           iii.   Be filed within two (2) court days of receipt of the Request; and

          iv.     Be served on the opposing party pursuant to any authorized or agreed upon
                  method of service that ensures that the opposing party receives the Answer no
                  later than the next court day following the filing.

     c. No other pleadings, including but not limited to exhibits, declarations, or attachments, will
        be accepted.

     d. If the Court has not granted or denied the Request for Informal Discovery Conference
        within ten (10) days following the filing of the Request, then it shall be deemed to have
        been denied. If the Court acts on the Request, the parties will be notified whether the
        Request for Informal Discovery Conference has been granted or denied and, if granted,
        the date and time of the Informal Discovery Conference, which must be within twenty (20)
        days of the filing of the Request for Informal Discovery Conference.

     e. If the conference is not held within twenty (20) days of the filing of the Request for
        Informal Discovery Conference, unless extended by agreement of the parties and the
        Court, then the Request for the Informal Discovery Conference shall be deemed to have
        been denied at that time.

 4. If (a) the Court has denied a conference or (b) one of the time deadlines above has expired
    without the Court having acted or (c) the Informal Discovery Conference is concluded without
    resolving the dispute, then a party may file a discovery motion to address unresolved issues.

 5. The parties hereby further agree that the time for making a motion to compel or other
    discovery motion is tolled from the date of filing of the Request for Informal Discovery
    Conference until (a) the request is denied or deemed denied or (b) twenty (20) days after the
    filing of the Request for Informal Discovery Conference, whichever is earlier, unless extended
    by Order of the Court.

     It is the understanding and intent of the parties that this stipulation shall, for each discovery
     dispute to which it applies, constitute a writing memorializing a "specific later date to which
     the propounding [or demanding or requesting] party and the responding party have agreed in
     writing," within the meaning of Code Civil Procedure sections 2030.300(c), 2031.320(c), and
     2033.290(c).

 6. Nothing herein will preclude any party from applying ex parte for appropriate relief, including
    an order shortening time for a motion to be heard concerning discovery.

 7. Any party may terminate this stipulation by giving twenty-one (21) days notice of intent to
    terminate the stipulation.

 8. References to "days" mean calendar days, unless otherwise noted. If the date for performing
    any act pursuant to this stipulation falls on a Saturday, Sunday or Court holiday, then the time
    for performing that act shall be extended to the next Court day.



 LACIV 036 (new)
 LASC Approved 04/11         STIPULATION - DISCOVERY RESOLUTION
 For Optlonal Use                                                                            Page 2 of 3
Case 2:18-cv-02522-JLS-JCG Document 1-5 Filed 03/28/18 Page 16 of 32 Page ID #:481

I~,m~
                                                                   1="~~                                   ]
 The following parties stipulate:

 Date:
                                                      ?
                   (TYPE OR PRINT NAME)                           (ATTORNEY FOR PLAINTIFF)
 Date:

                   (TYPE OR PRINT NAME)                          (ATTORNEY FOR DEFENDANT)
 Date:

                   (TYPE OR PRINT NAME)                          (ATTORNEY FOR DEFENDANT)
 Date:

                   (TYPE OR PRINT NAME)                          (ATTORNEY FOR DEFENDANT)
 Date:

                   {TYPE OR PRINT NAME)                   {ATTORNEY FOR
 Date:

                   (TYPE OR PRINT NAME)                   (ATTORNEY FOR
 Date:

                   (TYPE OR PRINT NAME)                   {ATTORNEY FOR




    LACIV 036 (new)
    LASC Approved 04/11           STIPULATION - DISCOVERY RESOLUTION
    For Optional Use                                                                         Page 3 of 3
   Case 2:18-cv-02522-JLS-JCG Document 1-5 Filed 03/28/18 Page 17 of 32 Page ID #:482


NAME ANO ADDRESS Of AITORNEY OR PARTY WITHOUT ATIORNEY:                 STATE BAR NUMl!ER            Re.served to, Clerk"$ File Stamp




          TELEPHONE NO.:                                  FAX NO. (Optional}:
 E-MAIL ADDRESS (Optional):
    ATTORNEY FOR (Name):

SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
COURTHOUSE ADDRESS:


PLAINTIFF:


DEFENDANT:


                                                                                            CASE NUMBER:
           STIPULATION - EARLY ORGANIZATIONAL MEETING

      This stipulation is intended to encourage cooperation among the parties at an early stage in
      the litigation and to assist the parties In efficient case resolution.

      The parties agree that:

       1. The parties commit to conduct an initial conference (in-person or via teleconference or via
          videoconference) within 15 days from the date this stipulation is signed, to discuss and consider
             whether there can be agreement on the following:

             a. Are motions to challenge the pleadings necessary? If the issue can be resolved by
                amendment as of right, or if the Court would allow leave to amend, could an amended
                complaint resolve most or all of the issues a demurrer might otherwise raise? If so, the parties
                agree to work through pleading issues so that a demurrer need only raise issues they cannot
                resolve. Is the issue that the defendant seeks to raise amenable to resolution on demurrer, or
                would some other type of motion be preferable? Could a voluntary targeted exchange of
                documents or information by any party cure an uncertainty in the pleadings?

             b. Initial mutual exchanges of documents at the "core" of the litigation. (For example, in an
                employment case, the employment records, personnel file and documents relating to the
                conduct in question could be considered "core." In a personal injury case, an incident or
                police report, medical records, ~nd repair or maintenance records could be considered
                "core.");

             c. Exchange of names and contact information of witnesses;

             d. Any insurance agreement that may be available to satisfy part or all of a judgment, or to
                indemnify or reimburse for payments made to satisfy a judgment;

             e. Exchange of any other information that might be helpful to facilitate understanding, handling,
                or resolution of the case in a manner that preserves objections or privileges by agreement;

             f.   Controlling issues of law that, if resolved early, will promote efficiency and economy in other
                  phases of the case. Also, when and how such issues can be presented to the Court;

             g. Whether or when the case should be scheduled with a settlement officer, what discovery or
                court ruling on legal issues is reasonably required to make settlement discussions meaningful,
                and whether the parties wish to use a sitting judge or a private mediator or other options as
       LACIV 229 (Rev 02/15)
       LASC Approved 04/11              STIPULATION - EARLY ORGANIZATIONAL MEETING
       For Optional Use                                                                                                       Page 1 of 2
Case 2:18-cv-02522-JLS-JCG Document 1-5 Filed 03/28/18 Page 18 of 32 Page ID #:483




          discussed in the "Alternative Dispute Resolution (ADR) Information Package" served with the
          complaint;

     h. Computation of damages, including documents, not privileged or protected from disclosure, on
        which such computation is based;

     i.   Whether the case is suitable for the Expedited Jury Trial procedures (see information at
          www.lacourt..org under "Civil' and then under "General Information").

2.        The time for a defending party to respond to a complaint or cross-complaint will be extended
          to                         for the complaint, and                             for the cross-
                    (INSERT DATE)                                      (INSERT DATE)
          complaint, which is comprised of the 30 days to respond under Government Code§ 68616{b),
          and the 30 days permitted by Code of Civil Procedure section 1054(a), good cause having
          been found by the Civil Supervising Judge due to the case management benefits provided by
          this Stipulation. A copy of the General Order can be found at www.lacourt.org under "Civil'.
          click on "General Information", then click on "Voluntary Efficient Litigation Stipulations".

3.        The parties will prepare a joint report titled "Joint Status Report Pursuant to Initial Conference
          and Early Organizational Meeting Stipulation, and if desired, a proposed order summarizing
          results of their meet and confer and advising the Court of any way it may assist the parties'
          efficient conduct or resolution of the case. The parties shall attach the Joint Status Report to
          the Case Management Conference statement, and file the documents when the CMC
          statement is due.

4.        References to "days" mean calendar days, unless otherwise noted. If the date for performing
          any act pursuant to this stipulation falls on a Saturday, Sunday or Court holiday, then the time
          for performing that act shall be extended to the next Court day

The following parties stipulate:
Date:
                                                            ),;,

             (TYPE OR PRINT NAME)                                       (ATTORNEY FOR PLAINTIFF)
Date:

             (TYPE OR PRINT NAME)                                      (ATTORNEY FOR DEFENDANT)
Date:

             (TYPE OR PRINT NAME)                                      (ATTORNEY FOR DEFENDANT)
Date:

             (TYPE OR PRINT NAME)                                      (ATTORNEY FOR DEFENDANT)
Date:
                                                            »
             (TYPE OR PRINT NAME)                                  (ATTORNEY FOR
 Date:
                                                            »
             (TYPE OR PRINT NAME)                                  (ATTORNEY FOR
 Date:
                                                            »
             (TYPE OR PRINT NAME)                                  (ATTORNEY FOR


 LACIV 229 (Rev 02/15)
 LASC Approved 04/11      STIPULATION - EARLY ORGANIZATIONAL MEETING                                Page 2 of 2
   Case 2:18-cv-02522-JLS-JCG Document 1-5 Filed 03/28/18 Page 19 of 32 Page ID #:484


NAME AND ADDRESS OF ATIORNEY OR PARTY WITHOUT ATIORNeY.                 STATE BAR NUMBER                        Reserved for Clerk's Fite Stamp




          TELEPHONE NO.:                                  FAX NO. (Optional):
 E-MAIL ADDRESS (Optional):
    ATTORNEY FOR (Name):

SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
COURTHOUSE ADDRESS:


PLAINTIFF:


DEFENDANT:


                                                                                                      CASE NUMBER:
                        INFORMAL DISCOVERY CONFERENCE
               (pursuant to the Discovery Resolution Stipulation of the parties)
       1. This document relates to:
                  D           Request for Informal Discovery Conference
                  D           Answer to Request for Informal Discovery Conference
       2. Deadline for Court to decide on Request:                                         (insert date 10 calendar days following filing of
             the Request).
       3. Deadline for Court to hold Informal Discovery Conference:                                                (insert date 20 calendar
             days following filing of the Request).

       4. For a Request for Informal Discovery Conference, briefly describe the nature of the
          discovery dispute, including the facts and legal arguments at Issue. For an Answer to
          Request for Informal Discovery Conference, briefly describe why the Court should deny
          the requested discovery, including the facts and _legal_arguments at_issue.




       LACIV 094 (new)
       LASC Approved 04/11
                                                  INFORMAL DISCOVERY CONFERENCE
       For Optional Use                  (pursuant to the Discovery Resolution Stipulation of the parties}
   Case 2:18-cv-02522-JLS-JCG Document 1-5 Filed 03/28/18 Page 20 of 32 Page ID #:485



NAME AND ADDRESS OF ATTORNEY OR PARTY WITrlOUT ATTORNEY                 STATE BAA NUMBER            Reetl\'ed for Clerll.'s File Stamp




          TELEPHONE NO.:                                  FAX NO. (Optional):
 E-MAIL ADDRESS (Optional):
    ATTORNEY FOR(Name):
SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
COURTHOUSE ADDRESS:


PLAINTIFF:


DEFENDANT:


                                                                                           CASE NUMBER:
               STIPULATION AND ORDER - MOTIONS IN LIMINE



       This stipulation is intended to provide fast and informal resolution of evidentiary
       issues through diligent efforts to define and discuss such issues and limit paperwork.


       The parties agree that:

       1. At least __ days before the final status conference, each party will provide all other
          parties with a list containing a one paragraph explanation of each proposed motion in
          limine. Each one paragraph explanation must identify the substance of a single proposed
          motion in limine and the grounds for the proposed motion.

       2. The parties thereafter will meet and confer, either in person or via teleconference or
          videoconference, concerning all proposed motions in limine. In that meet and confer, the
          parties will determine:

             a. Whether the parties can stipulate to any of the proposed motions. If the parties so
                stipulate, they may file a stipulation and proposed order with the Court.

             b. Whether any of the proposed motions can be briefed and submitted by means of a
                short joint statement of issues. For each motion which can be addressed by a short
                joint statement of issues, a short joint statement of issues must be filed with the Court
                1O days prior to the final status conference. Each side's portion of the short joint
                statement of issues may not exceed three pages. The parties will meet and confer to
                agree on a date and manner for exchanging the parties' respective portions of the
                short joint statement of issues and the process for filing the short joint statement of
                issues.

       3. All proposed motions in limine that are not either the subject of a stipulation or briefed via
          a short joint statement of issues will be briefed and filed in accordance with the California
          Rules of Court and the Los Angeles Superior Court Rules.



       LACIV 075 (new)
       LASC Approved 04/11               STIPULATION AND ORDER - MOTIONS IN LIMINE
       For Optional Use                                                                                                      Page 1 of 2
Case 2:18-cv-02522-JLS-JCG Document 1-5 Filed 03/28/18 Page 21 of 32 Page ID #:486

1 ·~ITTTITIS
                                                             1=-                         J
 The following parties stipulate:

  Date:
                                                ~
               (TYPE OR PRINT NAME)                        (ATTORNEY FOR PLAINTIFF)
  Date:

               (TYPE OR PRINT NAME)                       (ATIORNEY FOR DEFENDANT)
  Date:
                                                ).-

               (TYPE OR PRINT NAME)                       (ATIORNEY FOR DEFENDANT)
  Date:
                                                >
               (TYPE OR PRINT NAME}                       (ATIORNEY FOR DEFENDANT}
  Date:

               (TYPE OR PRINT NAME)                   (ATIORNEY FOR                         )
  Date:

               (TYPE OR PRINT NAME)                   (ATIORNEY FOR
  Date:
                                                >
               (TYPE OR PRINT NAME)                   (ATTORNEY FOR                         )



  THE COURT SO ORDERS.

    Date:
                                                                JUDICIAL OFFICER




  LACIV 075 (new)
  LASC Approved 04/11    STIPULATION AND ORDER - MOTIONS IN LIMINE                    Page 2 of2
   Case 2:18-cv-02522-JLS-JCG Document 1-5 Filed 03/28/18 Page 22 of 32 Page ID #:487




                          Superior Court of California
                            County of Los Angeles




              ALTERNATIVE DISPUTE RESOLUTION (ADR)
                      INFORMATION PACKET


               The person who files a civil lawsuit (plaintiff) must include the ADR information
               Packet with the complaint when serving the defendant. Cross-complainants must
               serve the ADR Information Packet on any new parties named to the action
               together with the cross-complaint.

               There are a number of ways to resolve civil disputes without having to sue
               someone. These alternatives to a lawsuit are known as alternative dispute
               resolution (ADR).

               In ADR, trained, impartial persons decide disputes or help parties decide disputes
               themselves. These persons are called neutrals. For example, in mediations, the
               neutral is the mediator. Neutrals normally are chosen by the disputing parties or by
               the court. Neutrals can help resolve disputes without having to go to court.




LAADR 005 (Rev. 03/17)
LASC Adopted 10-03
Cal. Rules of Court, rule 3.221
    Case 2:18-cv-02522-JLS-JCG Document 1-5 Filed 03/28/18 Page 23 of 32 Page ID #:488




Advantages of ADR
   • Often faster than going to trial
   • Often less expensive, saving the litigants court costs, attorney's fees and expert fees.
   • May permit more participation, allowing parties to have more control over the outcome.
   • Allows for flexibility in choice of ADR processes and resolution of the dispute.
   o  Fosters cooperation by allowing parties to work together with the neutral to resolve the dispute and
      mutually agree to remedy.
   • There are fewer, if any, court appearances. Because ADR can be faster and save money, it can reduce
      stress.

Disadvantages of ADR - ADR may not be suitable for every dispute.
   e   If AOR is binding, the parties normally give up most court protections, including a decision by a judge or
      jury under formal rules of evidence and procedure, and review for legal error by an appellate court.
   • ADR may not be effective if it takes place before the parties have sufficient information to resolve the
       dispute.
   • The neutral may charge a fee for his or her services.
    • If the dispute is not resolved through ADR, the parties may then have to face the usual and traditional
       costs of trial, such as attorney's fees and expert fees.



The Most Common Types of ADR

    •   Mediation

        In mediation, a neutral (the mediator) assists the parties in reaching a mutually acceptable resolution
        of their dispute. Unlike lawsuits or some other types of AOR, the parties, rather than the mediator,
        decide how the dispute is to be resolved.

            •   Mediation is particularly effective when the parties have a continuing relationship, like
                neighbors or business people. Mediation is also very effective where personal feelings are
                getting in the way of a resolution. This is because mediation normally gives the parties a chance
                to express their feelings and find out how the other sees things.

            •    Mediation may not be effective when one party is unwilling to cooperate or compromise or
                 when one of the parties has a significant advantage in power over the other. Therefore, it may
                 not be a good choice if the parties have a history of abuse or victimization.




LAADR 005 {Rev. 03/17)
LASC Adopted 10-03
Cal. Rules of Court, rule 3.221

                                                     Page 2 of 4
   Case 2:18-cv-02522-JLS-JCG Document 1-5 Filed 03/28/18 Page 24 of 32 Page ID #:489



            111   Arbitration

                  In arbitration, a neutral person called an "arbitrator" hears arguments and evidence from each ·
                  side and then decides the outcome of the dispute. Arbitration is typically less formal than a
                  trial, and the rules of evidence may be relaxed. Arbitration may be either "binding" or "non-
                  binding." Binding arbitration means the parties waive their right to a trial and agree to accept
                  the arbitrator's decision as final. Non-binding arbitration means that the parties are free to
                  request a trial if they reject the arbitrator's decision.

                  Arbitration is best for cases where the parties want another person to decide the outcome of
                  their dispute for them but would like to avoid the formality, time, and expense of a trial. It may
                  also be appropriate for complex matters where the parties want a decision-maker who has
                  training or experience in the subject matter of the dispute.



            •     Mandatory Settlement Conference (MSC)

                  Settlement Conferences are appropriate in any case where settlement is an option.
                  Mandatory Settlement Conferences are ordered by the Court and are often held near the date
                  a case is set for trial. The parties and their attorneys meet with a judge who devotes his or her
                  time exclusively to preside over the MSC. The judge does not make a decision in the case but
                  assists the parties in evaluating the strengths and weaknesses of the case and in negotiating a
                  settlement.

                  The Los Angeles Superior Court Mandatory Settlement Conference (MSC) program is free of
                  charge and staffed by experienced sitting civil judges who devote their time exclusively to
                  presiding over MSCs. The judges participating in the judicial MSC program and their locations
                  are identified in the list of Settlement Officers found on the Los Angeles Superior Court website
                  at http://www.lacourt.org/. This program is available in general jurisdiction cases with
                  represented parties from independent calendar (IC) and Central Civil West (CCW) courtrooms.
                  In addition, on an ad hoc basis, personal injury cases may be referred to the program on the
                  eve of trial by the personal injury master calendar courts in the Stanley Mosk Courthouse or the
                  asbestos calendar court in CCW.

                  In order to access the Los Angeles Superior Court MSC Program the judge in the IC courtroom,
                  the CCW Courtroom or the personal injury master calendar courtroom must refer the parties to
                  the program. Further, all parties must complete the information requested in the Settlement
                  Conference Intake Form and email the completed form to mscdeptl8@lacourt.org.




LAADR 005 {Rev. 03/17)
LASC Adopted 10-03
Cal. Rules of Court, rule 3.221

                                                        Page 3 of 4
       Case 2:18-cv-02522-JLS-JCG Document 1-5 Filed 03/28/18 Page 25 of 32 Page ID #:490




Additional Information

To locate a dispute resolution program or neutral in your community:

   e     Contact the California Department of Consumer Affairs (www.dca.ca.gov) Consumer Information
         Center toll free at 800-952-5210, or;
   •     Contact the local bar association (http://www.lacba.org/) or;
   •     Look in a telephone directory or search online for "mediators; or "arbitrators."

There may be a charge for services provided by private arbitrators and mediators.



A list of approved State Bar Approved Mandatory Fee Arbitration programs is available at
http://calbar.ca.gov/Attorneys/MemberServices/FeeArbitration/ApprovedPrograms.aspx#19



To request information about, or assistance with, dispute resolution, call the number listed below. Or you may
call a Contract Provider agency directly. A list of current Contract Provider agencies in Los Angeles County is
available at the link below.

http://css.lacou nty .gov/programs/d isp ute-resolution-progra m-d rp/




                                  County of Los Angeles Dispute Resolution Program
                                          3175 West 6th Street, Room 406
                                             Los Angeles, CA 90020-1798
                                                 TEL: (213} 738-2621
                                                 FAX: (213) 386-3995




LAADR 005 (Rev. 03/17)
LASC Adopted 10-03
Cal. Rules of Court, rule 3.221

                                                      Page 4 of 4
Case 2:18-cv-02522-JLS-JCG Document 1-5 Filed 03/28/18 Page 26 of 32 Page ID #:491




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        Jerome H. Friedberg, Esq. (SBN 125663}
        ISAACS I FRIEDBERG LLP
        555 S. Flower Street, Suite 4250
        Los Angeles, CA 90071
              TElfPHON( r.(.) 2 l 3-929-5550 f.'v 1•0                                  /(){IW'i!I;   213-955-5794

                           Plaintiffs EMIL YOUSSEFZADEH, et al.
              ,,num,~rro,11,w,,,,
                                                                                                                                                 FEl:3 2 3 2018
     SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
          s~Rm AccArss 11 l North Hill Street                                                                                                           Otticar/Clen
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            ~      r coLc Los AngeJes, c:A 90012
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              PLA1Nr1mPET1TiONER                           F.iv1!L YOUSSEFZADEIL et al.

  DEFENDANT/RESPONDENT                                     GLOBAL-JP CAYMAN. et al.

                                                                                                                             0£>'1
                                                          NOTICE OF RELATED CASE


 Identify m chronolog1cal order according to date of filing. all cases related to the case referenced above
          a       Tille         STM Atlantic N.V., ct al. vs. Dong Yin Development (Holdings) Limited. et al.
          b.      Case number-                       8: l 7·CV-01405
          c Court [                       J        same as above
                                 [Z]         other state or federal court (name and address) 4 I I W. 4th Street, Rm. I 053, Santa Ana, CA 9270 I
          d Department                       USDC. Central District of California, Southern Division, Judge Josephine L. Staton
          e Case type                       D !united civil D unlimited civil D probate D family law [Z] other (specify) Civil- Fed.
                 FIiing date.                 August 15, ::w 17
         g        Has this case been designated or determined as "complex?''                            D      Yes   [Z]    No
          h       Relationship of this case to the case referenced above (check all that apply).

                 D                involves the same parties and 1s based on the same or similar daims
                 [I]              anses from the same or substantially identical transactions. incidents. or events requ1nng the detennina!ion of
                                  the same or substantially identical questions of law or fact.
                 D                involves claims against. title to. possession of. or damages            to the same property
                 CJ              1s likely for other reasons to require substantial duplication of judicial resources 1f heard by different Judges.
                                D                 Additional explanation is attached in attachment 1h
           , Status of case
                C"l              pending
                m                dismissed              D      with    [I]    Without prejudice
                D                disposed of by Judgment

 2        a       T1t1& Chris Chen vs. Global-IP Cayman, et af.
          b      Case number BC6 73421
          c      Court: [2J same as above
                                 CJ                other state or federal court (name and address).
         o Department                             Department 74. Hon. Michelle Williams Court
                                                                                                                                                                                       Pa91t 1 of 3
 f,cr;n ~p.picvea for Opt:cno! l;s-e                                                                                                                                 CJ/ Rules of COU:l n.•"1e J 300
     .h.;dV.,iot C6 .. rY..:i< ~t CoJiforr.,.;,                               NOTICE OF RELATED CASE
     CM-tH !: fRev J~1, 1 ZOC7;
 Case 2:18-cv-02522-JLS-JCG Document 1-5 Filed 03/28/18 Page 28 of 32 Page ID #:493


                                                                                                                                               CM-015
                                                                                                             CASE NUMBER
,__ PLAINTIFF/PETITIONER:               EMIL YOUSSEFZADEH, et al.
 DEFENDANT/RESPONDENT:                  GLOBAL-IP CAYMAN, et al.
2. (continued)
          e. Case type:        CJ      limited civil    m     unlimited civil   CJ   probate   CJ      family law   D       other (specify);

          f. Filing date:       August 23, 2017
          g.     Has this case been designated or determined as "complex?"              D       Yes      m       No
          h.     Relationship of this case to the case referenced above (check all that apply):

                CJ        involves the same parties and is based on the same or similar claims.

                W         arises from the same or substantially identical transactions. incidents, or events requiring the determination of
                          the same or substantially identical questions of law or fact.
                CJ       involves claims against, title to, possession of, or damages to the same property.
                CJ       is likely for other reasons to require substantial duplication of judicial resources if heard by different judges.
                         CJ       Additional explanation is attached in attachment 2h

          i. Status of case:
                m         pending
                CJ        dismissed     CJ       with   CJ       without prejudice
                CJ       disposed of by judgment

3.   a.        Title:   STM Atlantic N.V., et al. vs. Dong Yin Development (Holdings) Limited, et al.
     b.        Case number:  2: I 8-cv-0 I269
     c. Court:          CJ      same as above
                        W      other state or federal court (name and address): 411 W. 4th Street, Rm. I 053, Santa Ana, CA 9270 I
     d Department:            USDC, Central District of California, Southern Division, Judge Josephine L. Staton
     e Case type:            CJ limited civil CJ unlimited civil CJ probate D family law [Z] other (specify)· Civil-Fed.
     f.    Filing date:      February 15, 2018
     g.        Has this case been designated or determined as "complex?"              CJ       Yes     [ZJ     No
     h.        Relationship of this case to the case referenced above (check all that apply):

           CJ           involves the same parties and is based on the same or similar claims.

           W            arises from the same or substantially identical transactions, incidents, or events requiring the determination of
                        the same or substantially identical questions of law or fact.
           CJ           involves claims against, title to. possession of, or damages to the same property.
           CJ           is likely for other reasons to require substantial duplication of judicial resources if heard by different judges.
                        CJ    Additional explanation is attached in attachment 3h
      i. Status of case:
           m            pending
           CJ           dismissed     CJ       with     CJ     without prejudice
           D            disposed of by judgment

4.   CJ           Additional related cases are described in Attachment 4. Number of pages attached: _ __



Date:     February 23. 2018

Jerome H. Friedberg, Esq.
                  (TYPE OR PRINT NAME OF PARTY OR ATTORNEY}                                          (SIGNATURE OF PARTY OR ATTORNEY)


CM-015 (Rev July 1. 20071                                                                                                                       Page 2 of 3
                                                               NOTICE OF RELATED CASE
 Case 2:18-cv-02522-JLS-JCG Document 1-5 Filed 03/28/18 Page 29 of 32 Page ID #:494



                                                                                                                                       CM-015
                                                                                                    CASE NUMBER
      PLAINTIFF/PETITIONER:          EMIL YOUSSEFZADEH, et al.
     DEFENDANT/RESPONDENT:           GLOBAL-IP CAYMAN, et al.

                                             PROOF OF SERVICE BY FIRST-CLASS MAIL
                                                    NOTICE OF RELATED CASE
(NOTE: You cannot serve the Notice of Related Case if you are a party in the action. The person who served the notice must
complete this proof of service. The notice must be served on all known parties in each related action or proceeding.)

1.    I am at least 18 years old and not a party to this action. I am a resident of or employed in the county where the mailing took
      place, and my residence or business address is (specify):




2.    I served a copy of the Notice of Related Case by enclosing it in a sealed envelope with first-class postage fully
      prepaid and (check one):
      a.   D        deposited the sealed envelope with the United States Postal Service.
      b.   D        placed the sealed envelope for collection and processing for mailing, following this business's usual practices,
                    with which I am readily familiar. On the same day correspondence is placed for collection and mailing, it is
                    deposited in the ordinary course of business with the United States Postal Service.
3. The Notice of Related Case was mailed:
      a. on (date):
      b     from (city and state)·


4.    The envelope was addressed and mailed as follows:
      a. Name of person served:                                       c. Name of person served:

            Street address:                                              Street address:
            City:                                                        City:
            State and zip code:                                          State and zip code:



       b. Name of person served:                                      d. Name of person served:

            Street address:                                              Street address:
            City:                                                        City:
            State and zip code:                                          State and zip code:


D          Names and addresses of additional persons served are attached. (You may use form P0S-030(P).)

I declare under penalty of perjury under the laws of the State of California that the foregoing is true and correct.


Date:




                        {TYPE OR PRiNT NAME OF DECLARANT)                                       (SIGNATURE OF DECLARANT)




CM-015 jRev July 1 2007)                                                                                                                Page 3of 3
                                                            NOTICE OF RELATED CASE
      Case 2:18-cv-02522-JLS-JCG Document 1-5 Filed 03/28/18 Page 30 of 32 Page ID #:495
                                                                                                                            FILED
                                                                                                                Superior Court of California
                                                                                                                  County of Los Angeles
NOTICE SENT TO:                                                                                         FILE STAMP
                                                                                                                        MAR 21 2018
Isaacs, Jeffrey
Isaacs/Friedberg LLP
555 South Flower Street, Ste. 4250
Los Angeles           CA 90071

                    SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
                                                                                                       CASE NUMBER
EMIL YOUSSEFZADEH ET AL
                                                      Plaintiff(s),                                    BC695360
                                 vs.
GLOBAt-IP CAYMAN ET AL                                                                NOTICE OF CASE
                                                      Defendant(s).                MANAGEMENT CONFERENCE

TO THE PLAINTIFF(S)/ATIORNEY(S) FOR PLAINTIFF(S) OF RECORD:

You are ordered to serve this notice of hearing on all parties/attorneys of record forthwith, and meet and confer with all parties/
attorneys of record about the matters to be discussed no later than 30 days before the Case Management Conference.

Your Case Management Conference has been scheduled for June 28, 2018 at 8:30 am in Dept. 74
at 111 North Hill Street, Los Angeles, California 90012.

NOTICE TO DEFENDANT:             THE SETIING OF THE CASE MANAGEMENT CONFERENCE DOES NOT EXEMPT THE
                                  DEFENDANT FROM FILING A RESPONSIVE PLEADING AS REQUIRED BY LAW.

Pursuant to California Rules of Court, rules 3.7~0-3.730, a completed Case Management Statement (Judicial Council form#
CM-110) must be filed at least 15 calendar days prior to the Case Management Conference. The Case Management Statement
may be filed jointly by all parties/attorneys of record or individually by each party/attorney of record. You must be familiar with the
case and be fully prepared to participate effectively in the Case Management Conference.

At the Case Management Conference, the Court may make pretrial orders including the following, but not limited to, an order
establishing a discovery schedule; an order referring the case to Alternative Dispute Resolution (AOR); an order reclassifying the
case; an order setting subsequent conference and the trial date; or other orders to achieve the goals of the Trial Court Delay
Reduction Act (Gov. Code, section 68600 et seq.)                                                            ·

Notice is hereby given that if you do not file the Case Management Statement or appear and effectively participate at the Case
Management Conference, the Court may impose sanctions pursuant to LASC Local Rule 3.37, Code of Civil Procedure sections
177.5, 575.2, 583.150, 583.360 and 583.410, Government Code Section 68608 (b), an       alifornia Rules of           CJ~;~e~.
Date: March 21, 2018                                                                               ·          ,{))   ~
                                                    CERTIFICATE OF seRv1c!@CHEt~iCW'iPl11\1iis couRr
I, the below named Executive .Officer/Clerk of the above-entitled court, do hereby certify that I am not a party to the cause herein,
and that on this date I served the Notice of Case Management Conference upon each party or counsel named above:

   ] by ~~_positing in the United States mail at the courthouse in L~s Angeles, California, one cop¥ of the original filed herein in a
     sep~Jpte sealed envelope to each address as shown above with postage thereon fully prepaid.
        ':.•_


[ J by P,etsonally giving the party notice upon filing the complaint.
Date: March 21, 2018                                                                  Sherri R. Carter, Executive Officer/Clerk
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        .......,.                                                              by _ _. ; . . ' - - - - - - - - - - • Deputy Clerk
        (.;<:>
LACIV 132 (Rev. 07/13)                                                                                 Cal. Rules of Court, rule 3.720-3.730
LASC Approved 10-03                                                                                    LASC Local Rules, Chapter Three
       Case 2:18-cv-02522-JLS-JCG Document 1-5 Filed 03/28/18 Page 31 of 32 Page ID #:496
                                                                                                                                       FILED
                                                                                                                             Superior Court of California
                                                                                                                               County of Los Angeles
NOTICE SENT TO:                                                                                                     FILE STAMP

Isaacs, Jeffrey
                                                                                                                                   MAR 21 2018
Isaacs/Friedberg LLP
555 south Flower Street, Ste. 4250
Los Angeles           CA 90071

                    SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
                                                                                                                  CASE NUMBER
EMIL YOUSSEFZADEH ET AL
                                                             Plaintiff(s),                                        BC695360
                                     vs.
GLOBAL-IP CAYMAN ET AL                                                                             ORDER TO SHOW CAUSE HEARING
                                                             Defendant(s).


To the party/attorney of record:_

You are ordered to appear for an Order to Show Cause Hearing on May 14, 2018 at 8:30 am in Dept. 74 of this
court, Central District, 111 North Hill Street, Los Angeles, California 90012, and show cause why sanctions should not be imposed for:

Failure to file Proof of Service of [ ] Petition         MSummons and [ '}(complaint [ ] Cross-Complaint pursuant to California
Rules of Court, rule 3.llO(b) and (c) as to:            Ale NAMED DEFENDANTS
Failure to comply or appear may result in sanctions, pursuant to one or more of the following: California Rules of Court, rule 2.30,
and rule 3.1340; Code of Civil Procedure sections 177.5, 575.2, 583.150, 583.310, 583.360, 583.410, 583.420, 583.430; and
Government Code section 68608.

( ] To avoid a mandatory appearance all required documents must be filed in [ ] this Dept [ ] Clerk's Office, Room _ _ _ __
    at least 5 court days prior to the date of the hearing.

  ] The Court may infer from your failure to appear that possession of the premises is no longer at issue, and that your case is not
    entitled to preference in setting pursuant to Code of Civil Procedure section 1179a.


    and file a Prnof of Secvice in this department or Clerk's Office at least 5 court days            o~e~rt'/;:;/;';
  ] You are ordered to give notice of said hearing forthwith to any party served with summons and complaint prior to OSC Hearing



Dated: March 21, 2018                                                                                    J.Jtp~
                                                                                                          MldM&ti~IAMS COURT
                                                              CERTIFICATE OF MAILING

I, the below named Executive Officer/Clerk of the above-entitled court, do hereby certify that I am not a party to the cause herein, and that on this date
I served the Order to Show Cause Hearing upon each party or counsel named above by depositing in the United States mail at the courthouse in Los Angeles,
California, one copy of the original filed/entered herein in a separate sealed envelope to each address as shown above with the postage thereon fully
prepaid.

Date: ~arch 21, 2018                                                                         Sherri R.   Cart,],;, EXE<;UTIVE OFFICER/CLERK
        ......
                                                                                             By
                                                                                                          r.rcwe ..!- ~                                , Deputy Clerk
         ··~
        ~·~'
        G>
      .........                                            ORDER TO SHOW CAUSE HEARING
LACIV 166-1 (Rev. 09/08)                                                                                                       LASC Local Rules, Chapter 7
LASC Approved 06-04                                                                                                            Cal. Rules of Court, rule 2.30
Case 2:18-cv-02522-JLS-JCG Document 1-5 Filed 03/28/18 Page 32 of 32 Page ID #:497



                                                                                                                                               Reserved for Clerk's File Stamp
                             SUPERIOR COURT OF CALIFORNIA
                                COUNTY OF LOS ANGELES                                                                                           FILED
                                                                                                                                     S~rtor Court of California
     COURTHOUSE ADDRESS:
                                               ..                                                                                      ountl, of I n~ An,...~•~s
     Los Angeles Superior Court Central District, 111 N. Hill St., Los Angeles,
     CA 90012                                                                                                                               MAR 21 2018
     PLAINTIFF:
     Emil Youssefzadeh and Umar Javed                                                                                        I herrl R ~ u , e Ulflller/C/eric
     DEFENDANT:                                                                                                                 Y.                                            Deputy
     Global•IP Cayman,: et al.                                                                                                             $             •     rlPn


                                                    CIVIL DEPOSIT                                                                CASE NUMBER:

                                                                                                                                 BC695360
       Clerk: Prepare a form for each depositor paying separately.
   PLEASE. REPORT TO THE CLERK'S OFFICE/CASHIER:

  · [gl R~om 102, Central Civil O Clerk's Office, Room - - -                                     0     Department Number __     ,_y.__
     v      Distribµtion Code's
             251   DAILY JURY FEES
                                                                                             Amt. Due          v     Distribution Codes
                                                                                                                      74      DEPOSIT IN TRUST
                                                                                                                                                                                Amt. Due

                   Dates
                   # of day(s)                      X$
             72    JURY FEES                                                                                          101     .itt:, 1 PAPERS
                                                                                                                              (General JurisdiC1ion)
                    Trial Date
                   (Initial Oeposil) $
                    REPORTER'S FEES                                                                                           FIRST PAPERS
                                                                                                                      101     Limited over $10,000
                    Dates
                                                                                                                      141    With declaration Limited to $10,000
                    #   of 1/2 day(s)                    X$                                                                  (Per B&P 6322.1(a))                                    435.00
                                                                                                                      130    Limited to $10,000.
             253
                    Half day
             252   Full Dav
             721   SANCTIONS ORDERED ON
                                                                                                                      211    RECLASSIFICATION FEE
                    Date:

             213   MOTION/APPLICATION TO CONTINUE HEARING                                                             150    COMPLEX LITIGATION TRIAUPlaintiff
             200   MOTION/APPLICATION TO CONTINUE TRIAL
                                                                                                                      151    COMPLEX LITIGATION/Defendant
                   Other:



       To be paid via:       D Cash O Check O Certified Check/Money Order [gl Credit Card
                                 0       On or before:                                    0     Forthwith
                                                                                                               Global-IP USA,
         Payment will be made by            O Plaintiff ________[gl Defendant                                  _ln_c_._______
                                                                                                                SHERRI R. CARTER, Executive Officer/Clerk
       DATED: _ _ _ _ __                                                                                       BY:
                                                                                                                                 De ut Clerk
                                              TO BE COMPLETED BY DEPOSITOR
                                                                                                                                                     CASHIER'S V~Llij'\;19,Y
                                                                                                                                                                        m :r, 1:.- rri
   Depositor's Name: _           _.t,.o......,...,u;..__YO,__,,____,_fneG-'--=~CV\.....=,__,_,cl-=-e../=----                                                            "' -.: -I (·)
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   0   Plaintiff in Pro Per      O Defendant in Pro Per                                                                                                                 ...:::z-o-o
                                                                                                                                                     ,:, ,:, r:-, ,:-:, m -1 l> -1
   0'counsel for        O Plaintiff_ _ _ _ _ _ _ _ _ _ _ _ _ __                                                                                      :D·:Cl:>:CO••'""'
                                                                                                                                                     :u :r,. c,:, rn •,         o :#:
                                                                l'jame of Party                                                                        ...0 rn
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                        IY'fietendant         Cl\\Qb:)..\ \Q ( ~ <t-6',lObe>.. \ ·r+> lAl'\                                                                                                  ("')
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                                                               Name of P a ~                                                                                                                 r.n
   Address of depositor                                                                                                                                                                      ~
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        ~o3 )).
   Street
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  LACIV 083 (Rev. 07/15)                                                           CIVIL DEPOSIT
  LASC Approved 03-04                                               Distribution: Original • Case File Copy • Customer

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